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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 APRIL NITKIN,                                              CIVIL ACTION

        Plaintiff,
                                                            NO. 20-4825-KSM
        v.

 MAIN LINE HEALTH, d/b/a BRYN
 MAWR HOSPITAL,

        Defendant.



                                            ORDER

       AND NOW, this 18th day of October, 2021, upon consideration of Defendant’s Motion

for Summary Judgment (Doc. No. 22), Plaintiff’s response (Doc. Nos. 23, 27), Defendant’s reply

(Doc. No. 25), the oral argument on the motion, and for the reasons set forth in the accompanying

Memorandum, it is hereby ORDERED that the Motion (Doc. No. 22) is GRANTED as to

Plaintiff’s hostile work environment and wrongful termination claims, and to the extent any claims

are based on Plaintiff’s reduction in hours requests. IT IS FURTHER ORDERED that the

Motion is DENIED with respect to Plaintiff’s retaliation claim.

IT IS SO ORDERED.

                                                    /s/KAREN SPENCER MARSTON
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                                                    KAREN SPENCER MARSTON, J.
